                 Case 10-43042                     Doc 1            Filed 09/27/10 Entered 09/27/10 13:19:12                                              Desc Main
 B1 (Official Form 1) (4/10)                                          Document     Page 1 of 39
                    United States Bankruptcy Court
                                                                                                                                                     Voluntary Petition
              Northern District of Illinois Eastern Division
 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle)

             Parsons, Schcondala Renee
 All Other Names used by the Debtor in the last 8 years (include married, maiden                 All Other Names used by the Joint Debtor in the last 8 years (include married,
 and trade names):                                                                               maiden and trade names):



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all) *                                                                 (if more than one, state all) *
                                   ***-**-3071
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):

 1212 N. LaSalle Apt # 1706
 Chicago IL                                                                 60610
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                           COOK
 Mailing Address of Debtor (if different from street address)                                    Mailing Address of Joint Debtor (if different from street address):




 Location of Principal Assets of Business Debtor (if different from street address above):

    Type of Debtor (Form of Organization)                     Nature of Business                     Chapter of Bankruptcy Code Under Which the Petition is Filed (Check one box)
                 (Check one box)                                 (Check one box.)
                                                         Heath Care Business                            Chapter 7
         Individual (includes Joint Debtors)                                                                                                Chapter 15 Petition for Recognition
         See Exhibit D on page 2 of this form            Single Asset Real Estate as                    Chapter 9                           of a Foreign Main Proceeding
         Corporation (includes LLC & LLP)                defined in 11 U.S.C §101 (51B)                 Chapter 11
                                                         Railroad                                       Chapter 12                          Chapter 15 Petition for Recognition
         Partnership                                     Stockbroker                                    Chapter 13                          of a Foreign Nonmain Proceeding
                                                         Commodity Broker
         Other (If debtor is not one of the                                                                                  Nature of Debts (Check one Box)
         above entities, check this box                  Clearing Bank
         and state type of entity below.)                Other                                         Debts are primarily consumer                 Debts are primarily business
                                                              Tax-Exempt Entity                        debts, defined in 11 U.S.C.                  debts.
                                                             (Check box, if applicable.)               § 101(8) as "incurred by an
                                                         Debtor is a tax-exempt                        individual primarily for a
                                                         organization under Title 26 of the            personal, family, or household
                                                         United States Code (the Internal              purpose."
                                                         Revenue Code).
                                                                                                                               Chapter 11 Debtors
                                   Filing Fee (Check one box)
                                                                                                Check one box
    Filing Fee attached                                                                             Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)
                                                                                                    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
    Filing Fee to be paid in installments (applicable in individuals only). Must attach         Check if:
    signed application for the court's consideration certifying that the debtor is                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
    unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   insiders or affliates) are less than $2,343,300. (amount subject to adjustment
                                                                                                    on 4/01/13 and ever theree years thereafter).
    Filing Fee wavier requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                  A plan is being filed with this petition.
                                                                                                        Acceptances of the plan were solicited prepetition from one of more classes
                                                                                                        of creditors, in acccordance with 11 U.S.C. § 1126(b).

 Statistical/Administrative Information                                                                                                                   This space is for court use only
    Debtor estimates that funds will be available for distribution to unsecured credtiors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no
    funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

      1-          50-               100-          200-           1,000-         5,001-      10,001         25,001         50,001        Over
      49          99                199           999            5,000          10,000      25,000         50,000         100,000       100,000
 Estimated Assets

       $0 to         $50,001to     $100,001 to    $500,001       $1,000,001     $10,000,001 $50,000,001    $100,000,001   $500,000,001 More than
       $50,000       $100,000      $500,000       to $1          to $10         to $50      to $100        to $500        to $1billion $1 billion
                                                  million        million        million     million        million
 Estimated Liabilities

       $0 to         $50,001 to     $100,001 to   $500,001       $1,000,001     $10,000,001 $50,000,001    $100,000,001   $500,000,001 More than
       $50,000       $100,000       $500,000      to $1          to $10         to $50      to $100        to $500        to $1billion $1 billion
                                                  million        million        million     million        million

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B1 (Official Form 1) (4/10) )                                        Document     Page 2 of 39
                                     Voluntary Petition                                             Name of Debtor(s)
                 This page must be completed and filed in every case)                                                       Parsons, Schcondala Renee

                                           All Prior Bankruptcy Case Filed Within Last 8 Years (if more than two, attach additional sheet)
Location Where Filed:                                                                     Case Number:                              Date Filed:
None

 None

                       Pending Bankruptcy Case Filed by any Spouse, Partner, or Affilate of this Debtor (if more than one, attach additional sheet)
Name of Debtor:                                                                                     Case Number:                                    Date Filed:
        None
District:                                                                                           Relationship:                                   Judge:




                                           Exhibit A                                                                                        Exhibit B
                                                                                                          (To be completed if debtor is an individual whose debts are primarily consumer debts.)
   (To be completed if debtor is required to file periodic reports (e.g.,
                                                                                                    I, the attorney for the petitioner named in the foregoing petition, declare that I
   forms 10K and 10Q) with the Securities and Exchange Commission
                                                                                                    have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
   pursuant to Section 13 or 15 (d) of the Securities Exchange Act of                               or 13 of title 11, United States Code, and have explained the relief available under
   1934 and is requesting relief under chapter 11.)                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                    required by 11 USC § 342(b).


            Exhibit A is attached and made a part of this petition.                                                      /s/ Jonathan D Parker
                                                                                                     Jonathan D Parker                                                   Dated: 09/21/2010


                                                                                        Exhibit C
       Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

            Yes, and Exhibit C is attached and made a part of this petition.
            No.

                                                                                        Exhibit D
                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
            If this is a joint petition:
            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                            Information Regarding the Debtor - Venue
                                                                     (Check the Applicable Box.)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United
                          States in this District, or has no principal place of business or assets in the United States but is a defendant in an action
                          or proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the
                          relief sought in this District.

                                     Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)
                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                          following.)
                                                        (Name of landlord that obtained judgment)


                                                        (Address of Landlord)

                         Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                         permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                         possession was entered, and
                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                          period after the filing of the petition.
                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1))


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                               Voluntary Petition                                                Name of Joint Debtor(s)
                This page must be completed and filed in every case)
                                                                                                                      Parsons, Schcondala Renee


                                                                                       Signatures

        Signature(s) of Debtor(s) (Individual/Joint)                                                         Signature of a Foreign Representative
  I declare under penalty of perjury that the information provided in                               I declare under penalty of perjury that the information provided in this
                                                                                                    petition is true and correct, that I am the foreign representative of a debtor
  this petition is true and correct.
                                                                                                    in a foreign proceeding, and that I am authorized to file this petition
  [If petitioner is an individual whose debts are primarily consumer                                (Check only one box.)
  debts and has chosen to file under chapter 7] I am aware that I                                   I request relief in accordance with chapter 15 of title 11, United States
  may proceed under chapter 7,11, 12 or 13 of title 11, United States                               Code. Certified copies of the documents required by 11 U.S.C. § 1515 are
  Code, understand the relief available under each such chapter,                                    attached.
  and choose to proceed under chapter 7.                                                            Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
  [If no attorney represents me and no bankruptcy petition preparer                                 chapter of title 11 specified in this petition. A certified copy of the order
  signs the petition] I have obtained and read the notice required by                               granting recognition of the foreign main proceeding is attached.
  11 U.S.C. § 342(b).

  I request relief in accordance with the chapter of title 11, United
  States Code, specified in this petition.                                                          (Signature of Foreign Representative)

                                                                                                    (Printed Name of Foreign Representative)
            /s/ Schcondala Renee Parsons
            Schcondala Renee Parsons                                                               << Sign & Date on Those Lines
                                                      Dated:             09/09/2010




                            Signature of Attorney                                                            Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition
                   /s/ Jonathan D Parker                                                           preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
   Signature of Attorney for Debtor(s)                                                             compensation and have provided the debtor with a copy of this document
                                                                                                   and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                        Jonathan D Parker                                                          and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
                                                                                                   11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
   Printed Name of Attorney for Debtor(s)                                                          bankruptcy petition preparers, I have given the debtor notice of the
  GERACI LAW, LLC                                                                                  maximum amount before preparing any document for fi ling for a debtor or
                                                                                                   accepting any fee from the debtor, as required in that section.
  55 E. Monroe Street #3400                                                                        Official Form 19B is attached.
  Chicago IL 60603
  Phone: 312.332.1800                                                                              Printed Name and title, if any, of Bankruptcy Petition Preparer

                       Date: 09/21/2010                                                            Social Security number (If the bankrutpcy petition preparer is not an
                                                                                                   individual, state the Social Security number of the officer, principal,
  * In a case in which § 707(b)(4)(D) applies, this signature also constitutes a certification     responsible person or partner of the bankruptcy petition preparer.)
  that the attorney has no knowledge after an inquiry that the information in the schedules is     (Required by 11 U.S.C. § 110.)
  incorrect.
                                                                                                   Address

     Signature of Debtor (Corporation/Partnerhsip)                                                  Date
 I declare under penalty of perjury that the information provided in                                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
 this petition is true and correct, and that I have been authorized to                              person,or partner whose social security number is provided above.
 file this petition on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11,                             Names and Social Security numbers of all other individuals who
                                                                                                    prepared or assisted in preparing this document unless the bankruptcy
 United States Code, specified in this petition.
                                                                                                    petition preparer is not an individual:
 Signature of Authorized Individual
                                                                                                    If more than one person prepared this document, attach additional sheets
  Printed Name of Authorized Individual                                                             conforming to the appropriate official form for each person.

 Title of Authorized Individual                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                    title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
 Date                                                                                               or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.




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                             UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re
 Schcondala Renee Parsons Debtor                                                                              Bankruptcy Docket #:

        EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                         CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot do
 so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose whatever
 filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and you file another
 bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop creditors' collection
 activities.

      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check one of
the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
         certificate and a copy of any debt repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
         a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
         the agency no later than 14 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
         days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling requirement
         so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent circumstances
         here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________

             If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you file
        your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any debt
        management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any extension of
        the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be dismissed if the court is
        not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing.

              4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
        by a motion for determination by the court.]

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
        of realizing and making rational decisions with respect to financial responsibilities.);

                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
        participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                  Active military duty in a military combat zone.

              5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
        does not apply in this district.



 I certify under penalty of perjury that the information provided above is true and correct.



Dated:           09/09/2010                          /s/ Schcondala Renee Parsons                                                          Sign & Date
                                                                                                                                              Here
                                                        Schcondala Renee Parsons


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                             UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re
 Schcondala Renee Parsons Debtor                                                                              Bankruptcy Docket #:

        EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                         CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot do
 so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose whatever
 filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and you file another
 bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop creditors' collection
 activities.

      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. check one of
the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
         certificate and a copy of any debt repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by the
         United States trustee or bankruptcy administrator that outlined the opportunties for available credit counseling and assisted me in
         performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
         a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
         the agency no later than 14 days after your bankruptcy case is filed.


                3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
         days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling requirement
         so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.] [Summarize exigent circumstances
         here.]
         ______________________________________________________________________________________________________________
         ______________________________________________________________________________________________________________

             If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you file
        your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any debt
        management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any extension of
        the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be dismissed if the court is
        not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing.


              4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied
        by a motion for determination by the court.]
                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
        of realizing and making rational decisions with respect to financial responsibilities.);

                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
        participate in a credit counseling briefing in person, by telephone, or through the Internet.);

                  Active military duty in a military combat zone.

              5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
        does not apply in this district.



 I certify under penalty of perjury that the information provided above is true and correct.



                                                                                                                                           Sign & Date
Dated:           09/09/2010                                                                                                                   Here



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                            UNITED STATES BANKRUPTCY COURT
In re                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Schcondala Renee Parsons , Debtor




                                                 SUMMARY OF SCHEDULES
  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, C,
  D, E, F, I and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
  amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors also must complete the "Statistical
  Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.


                                                                                                     AMOUNTS SCHEDULED
                                                             Attached
                  Name of Schedule                           YES | NO      Pages             Assets                  Liabilities            Other

 SCHEDULE A - Real Property
                                                                Yes           1           $178,000                      $-                    $-

 SCHEDULE B - Personal Property
                                                                Yes           3             $2,500                      $-                    $-

 SCHEDULE C - Property Claimed as
 Exempt                                                         Yes          1+                $-                       $-                    $-

 SCHEDULE D - Creditors Holding Secured
 Claims                                                         Yes          1+                $-                   $191,983                  $-

 SCHEDULE E - Creditors Holding
 Unsecured Priority Claims                                      Yes           2                $-                       $-                    $-

 SCHEDULE F - Creditors Holding
 Unsecured Nonpriority Claims                                   Yes          1+                $-                    $45,579                  $-

 SCHEDULE G - Executory Contracts and
 Unexpired Leases                                               Yes           1                $-                       $-                    $-

 SCHEDULE H - CoDebtors
                                                                Yes           1                $-                       $-                    $-

 SCHEDULE I - Current Income of
 Individual Debtor(s)                                           Yes           1                $-                       $-                 $2,907

 SCHEDULE J - Current Expenditures of
 Individual Debtor(s)                                           Yes           1                $-                       $-                 $2,859



                                 TOTALS                                                  $ 180,500                 $ 237,562
                                                                                        TOTAL ASSETS            TOTAL LIABILITIES




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                       UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Schcondala Renee Parsons / Debtor                                                  Bankruptcy Docket #:




        STATISTICAL SUMMARY OF CERTAIN LIABILITIES - 28 U.S.C. § 159
    If you are an individual debtor whose debts are primarily consumer debts as defined in 101(8) of the Bankruptcy
 Code (11 U.S.C. 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below
     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts and, therefore, are
     not required to report any information here.

  This information is for statistical purposes only under 28 U.S.C § 159
  Summarize the following types of liabilities, as reported in the Schedules, and total them

                    Type of Liability                                           Amount
    Domestic Support Obligations (From Schedule E)                                 $0
    Taxes and Certain Other Debts Owed to
                                                                                   $0
    governmental Units (From Schedule E)

    Claims for Death or Personal Injury While Debtor was
    Intoxicated (From Schedule E) whether disputed or undisputed)                  $0

    Student Loan Obligations (From Schedule F)                                     $0

    Domestic Support Separation Agreement and Divorce Decree
                                                                                   $0
    Obligations Not Reported on (Schedule E).

    Obligations to Pension or Profit Sharing and Other                             $0
    Similar Obligations (From Schedule F)

                                                            TOTAL                   $0
   State the following:
   Average Income (from Schedule I, Line 16)                                    $ 2,907.22

  Average Expenses (from Schedule J, Line 18)                                  $ 2,859.33
   Current Monthly Income (from Form 22A Line 12; or,
                                                                               $ 4,491.40
   Form 22B Line 11; or, Form 22C Line 20)

  State the following:
  1. Total from Schedule D, "UNSECURED PORTION,
  IF ANY" column                                                                            $ 0.00

   2. Total from Schedule E, "AMOUNT ENTITLED TO                $ 0.00
   PRIORITY" column
   3. Total from Schedule E, "AMOUNT NOT
                                                                                             $0
   ENTITLED TO PRIORITY, IF ANY" Column

   4. Total from Schedule F                                                              $ 45,579.00

   5. Total of non-priority unsecured debt
   (sum of 1,3 and 4)                                                                    $ 45,579.00




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                            UNITED STATES BANKRUPTCY COURT
In re                  NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Schcondala Renee Parsons, Debtor




                                             SCHEDULE A - REAL PROPERTY
  Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
  co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
  exercisable for the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W,"
  "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
  "Description and Location of Property."

  Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
  Contracts and Unexpired Leases.

  If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
  claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the amount of any exemption claimed in the
  property only in Schedule C - Property Claimed as Exempt.


                                                                                         Husband Current Value of Debtors
                                                                  Nature of                Wife    Interest in Property
                                                                                          Joint   Without Deducting and                Amount of
        Description and Location of Property                   Debtor's Interest
                                                                                           Or       Secured Claim or                  Secured Claim
                                                                 in Property
                                                                                       Community              Exemption

1212 N. LaSalle 706 Chicago, IL 60610 -
(Debtors primary residence)                                       Fee Simple                                  $ 178,000                  $ 191,983


                                       Total Market Value of Real Property                                  $178,000.00
                                                    (Report also on Summary of Schedules)




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                              UNITED STATES BANKRUPTCY COURT
In re
                         NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Schcondala Renee Parsons, Debtor




                                        SCHEDULE B - PERSONAL PROPERTY
 Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
 place an "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly
 identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
 property by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount
 of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
       Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
 If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." In
 providing the information in this schedule, do not include the name or address of a minor child. Simpy state a "minor child."

 If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
 If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                 N                                                                               H Current Value of
                                                                                                                                   Debtor's Interest in
                                                 O                                                                               W Property, Without
            Type of Property                     N              Description and Location of Property                             J   Deducting Any
                                                 E                                                                               C Secured Claim or
01. Cash on Hand
                                                 X
02. Checking, savings or other financial
accounts, certificates of deposit or shares in
banks, savings and loan, thrift, building and
loan, and homestead associations or credit
unions, brokerage houses, or cooperatives.

                                                       Citibank - Checking Account                                                           $     200
                                                       State of IL Credit Union - Checking Account                                           $     100
03. Security Deposits with public utilities,
telephone companies, landlords and others.       X
04. Household goods and furnishings,
including audio, video, and computer
equipment.

                                                       Household goods; TV, DVD player, TV stand, stereo,                                   $    1,500
                                                       sofa, vacuum, table, chairs, lamps, bedroom sets,
                                                       washer/dryer, stove, refrigerator, microwave,
                                                       dishes/flatware, pots/pans
05. Books, pictures and other art objects,
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.

                                                       Books, Compact Discs, Tapes/Records, Family Pictures                                  $     250
06. Wearing Apparel


                                                       Necessary wearing apparel.                                                            $     200
07. Furs and jewelry.


                                                       Earrings, watch, costume jewelry                                                      $     250
08. Firearms and sports, photographic, and
other hobby equipment.                           X



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In re
                         NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
Schcondala Renee Parsons, Debtor




                                         SCHEDULE B - PERSONAL PROPERTY
                                                  N                                                            H Current Value of
                                                                                                                 Debtor's Interest in
                                                  O                                                            W Property, Without
            Type of Property                      N         Description and Location of Property               J   Deducting Any
                                                  E                                                            C Secured Claim or
09. Interests in insurance policies. Name
insurance company of each policy and
itemize surrender or refund value of each.

                                                      Term Life Insurance - No Cash Surrender Value.                      $       0
10. Annuities. Itemize and name each issuer.
                                                  X
11. Interests in an educational IRA as
defined in 26 U.S.C 530(b)(1) or under a          X
qualified State tuition plan as defined in 26
U.S.C. 529(B)(1). Give particulars. (File
separately the records(s) of any such
interest(s). 11 U.S.C. 521(c); Rule 1007(b)).
12. Interest in IRA,ERISA, Keogh, or other
pension or profit sharing plans. Give
particulars

                                                      Pension w/ Employer/Former Employer - 100% Exempt.                 unknown
13. Stocks and interests in incorporated and
unincorporated businesses.                        X
14. Interest in partnerships or joint ventures.
Itemize. Itemize.                                 X
15. Government and corporate bonds and
other negotiable and non-negotiable               X
instruments.
16. Accounts receivable
                                                  X
17. Alimony, maintenance, support and
property settlements to which the debtor is or    X
may be entitled
18. Other liquidated debts owing debtor
including tax refunds. Give particulars.          X
19. Equitable and future interests, life
estates, and rights of power exercisable for      X
the benefit of the debtor other than those
listed in Schedule A - Real Property.
20. Contingent and Non-contingent interests
in estate of a decedent, death benefit plan,      X
life insurance policy, or trust.
21. Other contingent and unliquidated claims
of every nature, including tax refunds,           X
counter claims of the debtor, and rights to
setoff claims. Give estimated value of each.
22. Patents, copyrights and other intellectual
property. Give particulars.                       X
23. Licenses, franchises and other general
intangibles.                                      X



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Schcondala Renee Parsons, Debtor




                                         SCHEDULE B - PERSONAL PROPERTY
                                                 N                                                           H Current Value of
                                                                                                               Debtor's Interest in
                                                 O                                                           W Property, Without
              Type of Property                   N        Description and Location of Property               J   Deducting Any
                                                 E                                                           C Secured Claim or
24. Customer list or other compilations
containing personally identifiable information   X
(as defined in 11 USC 101 41A provided to
the debtor by individuals in connection with
obtaining a product or service from the debtor
primarily for personal, family, or household
purposes
25. Autos, Truck, Trailers and other vehicles
and accessories.                                 X
26. Boats, motors and accessories.
                                                 X
27. Aircraft and accessories.
                                                 X
28. Office equipment, furnishings, and
supplies.                                        X
29. Machinery, fixtures, equipment, and
supplie used in business.                        X
30. Inventory
                                                 X
31. Animals
                                                 X
32. Crops-Growing or Harvested. Give
particulars.                                     X
33. Farming equipment and implements.
                                                 X
34. Farm supplies, chemicals, and feed.
                                                 X
35. Other personal property of any kind not
already listed. Itemize.                         X
                                                                                                   Total
                                                                    (Report also on Summary of Schedules)               $2,500




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Schcondala Renee Parsons, Debtor




                                SCHEDULE C - PROPERTY CLAIMED EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                               Check if debtor claims a homestead exemption
 (Check one box)                                                                               that exceeds $146,450.*
       11 U.S.C. § 522(b)(2)                                         * Amount subject to adjustment on 4/1/13, and every three years thereafter with
        11 U.S.C. § 522(b)(3)                                        respect to cases commenced on or after the date of adjustment.

                                                                                                                                       Current Value of
                                                                                                                        Value of       Property without
                                                                                Specify Law Providing Each
                        Description of Property                                                                         Claimed           Deducting
                                                                                         Exemption
                                                                                                                       Exemption          Exemption
00. Real Property
1212 N. LaSalle 706 Chicago, IL 60610 - (Debtors primary                           735 ILCS 5/12-901                 $ 15,000             $ 178,000
residence)

02. Checking, savings or other financial accounts, certificates of
deposit or shares in banks, savings and loan, thrift, building and loan,
and homestead associations or credit unions, brokerage houses, or
cooperatives.
Citibank - Checking Account                                                        735 ILCS 5/12-1001(b)              $        200         $      200


State of IL Credit Union - Checking Account                                        735 ILCS 5/12-1001(b)              $        100         $      100


04. Household goods and furnishings, including audio, video, and
computer equipment.
Household goods; TV, DVD player, TV stand, stereo, sofa,                          735 ILCS 5/12-1001(b)               $       1,500        $     1,500
vacuum, table, chairs, lamps, bedroom sets, washer/dryer,
stove, refrigerator, microwave, dishes/flatware, pots/pans
05. Books, pictures and other art objects, antiques, stamp, coin,
record, tape, compact disc, and other collections or collectibles.
Books, Compact Discs, Tapes/Records, Family Pictures                               735 ILCS 5/12-1001(a)              $        250         $      250


06. Wearing Apparel
Necessary wearing apparel.                                                        735 ILCS 5/12-1001(a),(e)           $        200         $      200


07. Furs and jewelry.
Earrings, watch, costume jewelry                                                  735 ILCS 5/12-1001(a),(e)           $        250         $      250


09. Interests in insurance policies. Name insurance company of each
policy and itemize surrender or refund value of each.
Term Life Insurance - No Cash Surrender Value.                                     735 ILCS 5/12-1001(h)(3)               $      0          $       0


12. Interest in IRA,ERISA, Keogh, or other pension or profit sharing
plans. Give particulars



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Schcondala Renee Parsons, Debtor




                              SCHEDULE C - PROPERTY CLAIMED EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:             Check if debtor claims a homestead exemption
 (Check one box)                                                             that exceeds $146,450.*
     11 U.S.C. § 522(b)(2)                         * Amount subject to adjustment on 4/1/13, and every three years thereafter with
      11 U.S.C. § 522(b)(3)                        respect to cases commenced on or after the date of adjustment.

                                                                                                                     Current Value of
                                                                                                      Value of       Property without
                                                              Specify Law Providing Each
                  Description of Property                                                             Claimed           Deducting
                                                                       Exemption
                                                                                                     Exemption          Exemption

Pension w/ Employer/Former Employer - 100% Exempt.               735 ILCS 5/12-1006                 unknown              unknown




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 Schcondala Renee Parsons, Debtor




                        SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
      State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of
 the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
 and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens,
 garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
      List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on
 the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
 marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
      If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
 “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three
 columns.)
      Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)
 on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value of Collateral" also on
 the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled "Unsecured
 Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule D.

                                                                          * Date Claim was Incured                                                         Amount of




                                                                                                                                 Unliquidated
                                                              H




                                                                                                                    Contingent
                                                   Codebtor




                                                                                                                                                Disputed
                                                                               * Nature of Lien                                                              Claim        Unsecured
 Creditor's Name and Mailing Address                          W                                                                                             Without
                                                                      *Value of Property Subject to Lien                                                                   Portion, If
  Including Zip and Account Number                            J                                                                                            Deducting          Any
             (See Instructions Above)                         C            *Description of Property                                                         Value of


1 Citimortgage INC                                                        Dates: 2007-2010                                                                 $ 191,983            $0
                                                                  Nature of Lien: Mortgage
  Attn: Bankruptcy Dept.
  Po Box 9438                                                     Market Value : $ 178,000
                                                                      Intention: Reaffirm 524 (c)
  Gaithersburg MD 20898
                                                                  *Description: 1212 N. LaSalle 706 Chicago,
   Acct No.:        770727831                                                  IL 60610 - (Debtors primary
                                                                               residence)
   LaSalle Private Residences                                                                                                                                                   $0
   Attn: Bankruptcy Dept.                                                      Statutory Lien
   1212 N LaSalle                                                              $ 230,000
   Chicago IL 60610
                                                                               1212 N. LaSalle 706 Chicago,
                                                                               IL 60610 - (Debtors primary
                                                                               residence)

                                                                                                                    Total                                                      $-
                                                                                                                                                   (Report also on       (if applicatble,
                                                                                                                                                   Summary of            report also on
                                                                                                                                                   Schedules.)           Statistical
                                                                                                                                                                         Summary of
                                                                                                                                                                         Certain Liabilities
                                                                                                                                                                         and Related
                                                                                                                                                                         Data.)




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 Schcondala Renee Parsons, Debtor




           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors


         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
        Domestic Support Obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
        responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
        11 U.S.C. § 507(a)(1).
        Extensions of Credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but bfore the earlier of
        the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
        Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
        qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
        petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
        Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
        Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
        that were not delivered or provided. 11 U.S.C. § 507(a)(7).
        Taxes and certain other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
        Commitments to maintain the capital of insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
        (a)(9).
        Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 Schcondala Renee Parsons / Debtor




    SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding
unsecured claims without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete
account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the
continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,”
include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state
whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in
the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule.
Report this total also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case
under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

        Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                                  Unliquidated
                                                                                                                     Contingent
                                                                  H
                                                       Codebtor




                                                                             Date Claim Was Incurred and




                                                                                                                                                 Disputed
Creditor's Name, Mailing Address Including                        W                                                                                         Amount of
                                                                               Consideration For Claim.
       Zip Code and Account Number                                J                                                                                           Claim
              (See Instructions Above)                                  If Claim is Subject to Setoff, So State
                                                                  C

1   Capital One                                                       Dates: 2010-2010
    Attn: Bankruptcy Dept.                                            Reason: Credit Card or Credit Use                                                     $     487
    Po Box 85520
    Richmond VA 23285
    Acct #: XXXXX3071

2   CBNA                                                              Dates: 2008-2010
    Attn: Bankruptcy Dept.                                            Reason: Personal Loan                                                                 $    3,918
    Po Box 769006
    San Antonio TX 78245
    Acct #: 2714470404

3   CBNA                                                              Dates: 2003-2010
    Attn: Bankruptcy Dept.                                            Reason: Credit Card or Credit Use                                                     $    7,137
    1000 Technology Dr
    O Fallon MO 63368
    Acct #: XXXXX3071




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 Schcondala Renee Parsons / Debtor




    SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                            Unliquidated
                                                                                                               Contingent
                                                             H




                                                  Codebtor
                                                                        Date Claim Was Incurred and




                                                                                                                                           Disputed
Creditor's Name, Mailing Address Including                   W                                                                                        Amount of
                                                                          Consideration For Claim.
       Zip Code and Account Number                           J                                                                                          Claim
              (See Instructions Above)                             If Claim is Subject to Setoff, So State
                                                             C

4   CITI                                                         Dates: 2007-2010
    Attn: Bankruptcy Dept.                                       Reason: Credit Card or Credit Use                                                    $     9,123
    Po Box 6241
    Sioux Falls SD 57117
    Acct #: XXXXX3071

5   CITI                                                         Dates: 2003-2005
    Attn: Bankruptcy Dept.                                       Reason: Credit Card or Credit Use                                                    $ 11,328
    Po Box 6241
    Sioux Falls SD 57117
    Acct #: XXXXX3071

6   CITI Cards                                                   Dates: 2008-2010
    Attn: Bankruptcy Dept.                                       Reason: Credit Card or Credit Use                                                    $     1,501
    Po Box 6497
    Sioux Falls SD 57117
    Acct #: XXXXX3071

7   Dell Financial Services                                      Dates:
    Bankruptcy Department                                        Reason:                                                                              $      590
    12334 N IH 35
    Austin TX 78753
    Acct #:

8   Equifax                                                      Dates: 2010
    Attn: Bankruptcy Dept.                                       Reason: Notice Only                                                                   $        0
    PO Box 740241
    Atlanta GA 30374
    Acct #: XXXXX3071

9   Experian                                                     Dates: 2010
    Attn: Bankruptcy Dept.                                       Reason: Notice Only                                                                   $        0
    PO Box 2002
    Allen TX 75013
    Acct #: XXXXX3071

10 GEMB/GAP                                                      Dates: 2003-2010
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                    $     1,944
   Po Box 981400
   El Paso TX 79998
    Acct #: XXXXX3071

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 Schcondala Renee Parsons / Debtor




    SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS




                                                                                                                            Unliquidated
                                                                                                               Contingent
                                                             H




                                                  Codebtor
                                                                        Date Claim Was Incurred and




                                                                                                                                           Disputed
Creditor's Name, Mailing Address Including                   W                                                                                          Amount of
                                                                          Consideration For Claim.
       Zip Code and Account Number                           J                                                                                            Claim
              (See Instructions Above)                             If Claim is Subject to Setoff, So State
                                                             C

11 HSBC BANK                                                     Dates: 2010-2010
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                       $     276
   Po Box 5253
   Carol Stream IL 60197
    Acct #: XXXXX3071

12 HSBC/SAKS                                                     Dates: 2003-2010
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                       $    3,503
   140 W Industrial Dr
   Elmhurst IL 60126
    Acct #: XXXXX3071

13 Nordstrom FSB                                                 Dates: 2003-2010
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                       $    4,884
   Po Box 6555
   Englewood CO 80155
    Acct #: XXXXX3071

14 Orchard Bank                                                  Dates:
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                       $     299
   941 Corporate Center Dr.
   Pomona CA 91768-2642
    Acct #:

15 Transunion                                                    Dates: 2010
   Attn: Bankruptcy Dept.                                        Reason: Notice Only                                                                     $        0
   PO Box 1000
   Chester PA 19022
    Acct #: XXXXX3071

16 Webbank/DFS                                                   Dates: 2009-2010
   Attn: Bankruptcy Dept.                                        Reason: Credit Card or Credit Use                                                       $     589
   12234 N Ih 35 Sb Bldg B
   Austin TX 78753
    Acct #: XXXXX3071

                                                                 Total Amount of Unsecured Claims                                                     $ 45,579.00
                                                                           (Report also on Summary of Schedules)




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In re
 Schcondala Renee Parsons, Debtor




           SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
       Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State
  nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names
  and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
  contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
  guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



          Check this box if debtor has no executory contracts or unexpired leases.


                                                                             Description of Contract or Lease and Nature of Debtor's
                 Name and Mailing Address,                                  Interest. State whether Lease is for Non-Residential Real
                     Including Zip Code,                                               Property. State Contract Number or
            of Other Parties to Lease or Contract.                                          Any Government Contract.

        [x] None




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 Schcondala Renee Parsons, Debtor




                                                 SCHEDULE H - CODEBTORS
       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
 the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
 commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
 Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
 former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
 nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
 child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
 child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


          Check this box if debtor has no codebtors.


               Name and Address of CoDebtor                                                Name and Address of the Creditor


    [x] None




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Schcondala Renee Parsons, Debtor                                                                                             Bankruptcy Docket #:


                        SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
 filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
 calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

 Debtor's Marital                                          DEPENDENTS OF DEBTOR AND SPOUSE ~ RELATIONSHIP AND AGE
 Status: Single                         None
                                               DEBTOR EMPLOYMENT                                                               SPOUSE EMPLOYMENT
Occupation:                             Executive Assistant
Name of Employer:                       State Comptroller
Years Employed                          11 years
Employer Address:                       100 W Randolph
City, State, Zip                        Chicago, IL 60610                                      ,

    INCOME: (Estimate of average or projected monthly income at time case filed.)                                   DEBTOR                                       SPOUSE
1. Monthly Gross Wages, Salary, and commissions                                                                       $ 4,156.80                                              $ 0.00
       (Prorate if not paid monthly.)
2. Estimated Monthly Overtime                                                                                              $ 0.00                                             $ 0.00
3. SUBTOTAL                                                                                                    $ 4,156.80                                                     $ 0.00
4. LESS PAYROLL DEDUCTIONS
    a. Payroll Taxes and Social Security                                                                             $ 1,017.80                                               $ 0.00
    b. Insurance                                                                                                        $ 65.50                                               $ 0.00
    c. Union Dues                                                                                                         $ 0.00                                              $ 0.00
    d. Other (Specify)                                                                                                 $ 166.28                                               $ 0.00
                                                                                              Pension:
                                                                          Voluntary 401 Contributions:                    $ 0.00                                              $ 0.00
                                                                                        Child Support:                    $ 0.00                                              $ 0.00
                                                                 Life Insurance, Uniforms, 401K Loan:                     $ 0.00                                              $ 0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                     $ 1,249.58                                              $ 0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                           $ 2,907.22                                            $ 0.00
7. Regular income from operation of business or profession or farm                                                           $ 0.00                                            $ 0.00
8. Income from real property                                                                                                 $ 0.00                                           $ 0.00
9. Interest and dividends                                                                                                    $ 0.00                                           $ 0.00
10. Alimony, maintenance or support payments payable to the debtor
                                                                                                                             $ 0.00                                            $ 0.00
    for the debtor's use or that of dependents listed above.
11. Social Security or government assistance (Specify)                                                                       $ 0.00                                            $ 0.00
12. Pension or retirement income                                                                                             $ 0.00                                            $ 0.00
13. Other monthly income                                                                                                     $ 0.00                                           $ 0.00
        (Specify:)                                                                                 & &
                                                                                                                              $ 0.00                                          $ 0.00
14. SUBTOTAL OF LINES 7 THROUGH 13
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                               $ 2,907.22                                          $ 0.00

16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals fromline 15;                                                               $ 2,907.22
if there is only one debtor repeat total reported on line 15.)
                                                                                                         Report also on Summary of Schedules and, if applicable, on Statistical Summary
                                                                                                         of Certain Liabilities and Related Data.)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
     None


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In re
Schcondala Renee Parsons / Debtor                                                                            Bankruptcy Docket #:



               SCHEDULE J - CURRENT EXPENSES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
 payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.
        Check box if joint petition is filed & debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled "Spouse".

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                           $ 1,320.00
   a. Real Estate taxes included? [x] Yes [ ] No     b. Property insurance included? [ ] Yes [x] No
2. Utilities: a. Electricity and Heating Fuel                                                                                                   $ 150.00
              b. Water, Sewer, Garbage                                                                                                          $-
              c. Cellphone, Internet                                                                                                            $ 135.00
              d. Other      Home Phone and Cable Television                                                                                     $ 90.00
3. Home Maintenance (repairs and upkeep)                                                                                                        $ 50.00
4. Food                                                                                                                                         $ 400.00
5. Clothing                                                                                                                                     $ 50.00
6. Laundry and Dry Cleaning                                                                                                                     $ 40.00
7. Medical and Dental Expenses                                                                                                                  $ 50.00
8. Transportation (not including car payments) Gas, Tolls/Parking, Fees/Licenses, Repair, Bus/Train                                             $ 86.00
9. Recreation, Clubs and Entertainment, Newspapers, Magazines, etc.                                                                             $ 75.00
10. Charitable Contributions                                                                                                                    $-
11. Insurance (not deducted from wages or included in home mortgage payments)                                                                   $ 58.33
             a. Homeowner's or Renter's
             b. Life                                                                                                                            $-
             c. Health                                                                                                                          $-
             d. Auto                                                                                                                            $-
             e. Other                                                                                                                           $-
12. Taxes (not deducted from wages or included in home mortgage payments)
    (Specify) Federal or State Tax Repayments, Real Estate Taxes                                                                                $-
13. Installment Payments: (In Chapter 11, 12, and 13 cases, do not list payments to be included in plan)
             a. Auto                                                                                                                            $-
             b. Reaffirmation Payments                                                                                                          $-
             c. Other                                     $-                                                                                    $-
14. Alimony, maintenance and support paid to others                                                                                             $-
15. Payments for support of additional dependents not living at your home                                                                       $-
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                $-
17. Other: Haircuts, Hygiene, Newspaper/Mags & Tuition, Books & Childcare &                  Pet
             Eyecare, Meds        Postage/Banking        GLS Repay:        Babysitting      Care:
                $230.00                $30.00                $0.00            $-           $ 60.00                                              $320.00
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and if applicable, on
    the Stastical of Summary of Certain Liabilities and Related Data.
                                                                                                                                                $ 2,859.33
19. Describe any increase/decrease in expenditures anticipated to occur within the year following the filing this document:
    None


20. STATEMENT OF MONTHLY NET INCOME                                a. Average monthly income from Line 15 of Schedule I                         $ 2,907.22
                                                                   b. Average monthly expenses from Line 18 above                               $ 2,859.33
                                                                   c. Monthly net income (a. minus b.)                                          $ 47.89


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In re
 Schcondala Renee Parsons Debtor                                                                             Bankruptcy Docket #:




                       DECLARATION CONCERNING DEBTOR'S SCHEDULES
                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 I declare under penalty of perjury that I have read the foregoing summary and schedules, and that they are true and
 correct to the best of my knowledge, information and belief. I have disclosed on the foregoing schedules all property or
 assets I may have an interest in, the correct value of it, and every debt I may be liable for. I accept the risk that some
 debts won't be discharged. I have been advised of the difference between Chapter 7 and Chapter 13, income & expense
 concepts, budgeting, and have made full disclosure.

 Debtor's attorney has advised debtor that creditors can object to discharge of their debt on a variety of grounds including
 fraud, recent credit usage, divorce and support obligations and reckless conduct.

 Debtor's attorney has advised debtor that non-dischargeable debts such as taxes, student loans, fines by government
 units and liens on property of debtor are generally unaffected by bankruptcy.


 Dated:          09/09/2010                      /s/ Schcondala Renee Parsons                                           X Date & Sign
                                                   Schcondala Renee Parsons




                         if joint case, both spouses must sign. If NOT a joint case the joint debtor will NOT appear.

   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                         U.S.C. Sections 152 and 3571




 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. 110)

Non-Attorney Petition Preparers were NOT used to prepare any portion of this petition. All documents were produced by
                                      the Law Offices of Peter Francis Geraci.
                    THIS SECTION ONLY APPLIES TO PETITION PREPARERS AND HAS NOTHING TO DO WITH THIS CASE



        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                    This is a personal bankruptcy for an individual(s) and NOT a corporation or partnership.

           THIS SECTION ONLY APPLIES TO CORPORTATIONS & PARTNERSHIPS AND HAS NOTHING TO DO WITH THIS CASE


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. Sections 152 and 3571



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In re
 Schcondala Renee Parsons, Debtor




                                               STATEMENT OF FINANCIAL AFFAIRS
                   This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information
        for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in
        business as a sole proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this
        statement concerning all such activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor
        children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
        guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


                   Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must
        complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is
        needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and
        the number of the question.
                                                                              DEFINITIONS
                   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual
        debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this
        bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity
        securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An
        individual debtor also may be “in business” for the purpose of this form if the debtor engages in a trade, business, or other activity, other than
        as an employee, to supplement income from the debtor’s primary employment.

                   "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
        corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the
        voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent
        of the debtor. 11 U.S.C. § 101.




           01. INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS:

           State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
           business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year
           to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar
           year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal
           year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
           separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)

                       .                                       .
                    AMOUNT                                  SOURCE
          2010: $35,332                                     employment
          2009: $46,598
          2008: $45,000

NONE
           Spouse
 X

                       .                                       .
                    AMOUNT                                  SOURCE




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In re
 Schcondala Renee Parsons, Debtor




                                         STATEMENT OF FINANCIAL AFFAIRS

NONE
        02. INCOME OTHER THAN FROM EMPLOYMENT OR OPERATION OF BUSINESS:
 X
        State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during
        the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
        spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition
        is filed, unless the spouses are separated and a joint petition is not filed.)

                    .                                     .
                 AMOUNT                                SOURCE



NONE
        Spouse
 X

                    .                                     .
                 AMOUNT                                SOURCE




NONE
        03. PAYMENTS TO CREDITORS:
 X
        Complete a. or b. as appropriate, and c.

        a. INDIVIDUAL OR JOINT DEBTOR(S) WITH PRIMARILY CONSUMER DEBTS: List all payments on loans, installment purchases of goods or
        services, and other debts to any creditor made within 90 days immediately proceeding the commencement of this case if the aggregate
        value of all property that constitutes or is affected by such transfer is not less than $600.00. Indicate with an asterisk (*) any payments
        that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by
        an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
        payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

           Name and Address                             Dates of                              Amount                              Amount
              of Creditor                              Payments                                Paid                              Still Owing



NONE
        b. DEBTOR WHOSE DEBTS ARE NOT PRIMARILY CONSUMER DEBTS: List each payment or other transfer to any creditor made within 90
 X      days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by
        such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
        account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting
        and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

           Name and Address                            Dates of                      Amount Paid or Value of                      Amount
              of Creditor                          Payment/Transfers                       Transfers                             Still Owing




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 Schcondala Renee Parsons, Debtor




                                           STATEMENT OF FINANCIAL AFFAIRS

NONE
         c. ALL DEBTORS: List all payments made within 1 year immediately preceding the commencement of this case to or for the benefit of
 X       creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments be either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        Name & Address of Creditor                         Dates                        Amount Paid or Value of                      Amount
         & Relationship to Debtor                      of Payments                            Transfers                             Still Owing




NONE
         04. SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTIONS, GARNISHMENTS AND ATTACHMENTS:
 X
         List all lawsuits & administrative proceedings to which the debtor is or was a party within 1 (one) year immediately preceding the filing of
         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               CAPTION OF                              NATURE                                  COURT                                STATUS
                SUIT AND                                 OF                                  OF AGENCY                                OF
              CASE NUMBER                            PROCEEDING                             AND LOCATION                          DISPOSITION



NONE
         04b. WAGES OR ACCOUNTS GARNISHED: Describe all property that has been attached, garnished or seized under any legal or equitable
 X       process within (1) one year preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
         joint petition is not filed.)

        Name and Address of Person                        Date                                 Description
         for Whose Benefit Property                        of                                  and Value
                was Seized                               Seizure                               of Property




NONE
         05. REPOSSESSION, FORECLOSURES AND RETURNS:
 X
         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
         chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)

           Name and Address of             Date of Repossession, Foreclosure                 Description and
             Creditor or Seller                 Sale, Transfer or Return                    Value of Property




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In re
 Schcondala Renee Parsons, Debtor




                                            STATEMENT OF FINANCIAL AFFAIRS

NONE
         06. ASSIGNMENTS AND RECEIVERSHIPS:
 X
         a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
         case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)

                 Name and                                  Date                                   Terms of
                 Address of                                  of                                 Assignment or
                 Assignee                               Assignment                               Settlement



NONE
         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one (1) year immediately
 X       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
         property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                 Name and                            Name & Location                                Date                                Description
                  Address                             of Court Case                                  of                                and Value of
                of Custodian                          Title & Number                                Order                                Property




NONE
         07. GIFTS:
 X
         List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
         usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less
         than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        Name and Address of Person                      Relationship                                 Date                              Description
                   or                                    to Debtor,                                   of                               and Value
               Organization                                If Any                                    Gift                                of Gift




NONE
         08. LOSSES:
 X
         List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

              Description and                Description of Circumstances and,                       Date
                   Value                    if Loss Was Covered in Whole or in                        of
                of Property                  Part by Insurance, Give Particulars                     Loss




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                                          STATEMENT OF FINANCIAL AFFAIRS

        09. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY:

        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
        concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one (1) year immediately
        preceding the commencement of this case.

                Name and                                                                  Date of Payment,                     Amount of Money or
                 Address                                                                   Name of Payer if                      Description and
                of Payee                                                                  Other Than Debtor                     Value of Property
        Geraci Law, LLC                                                                            2010                         Payment/Value:
        55 E Monroe St Suite #3400                                                                                                 2,200.00
        Chicago, IL 60603


        09a. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY: List all payments made or property transferred by or on behalf of the
        debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of
        a petition in bankruptcy within 1 year immediately preceding the commencement of this case.

                Name and                                                                  Date of Payment,                    Amount of Money or
                 Address                                                                   Name of Payer if                     description and
                of Payee                                                                  Other Than Debtor                    Value of Property
        MMI/CCCS                                                                                   2010                               $50.00
        9009 W. Loop S.
        Houston, TX 77096
        Phone 866.983.2227

NONE
        10. OTHER TRANSFERS
 X
        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
        transferred either absolutely or as security with two (2) years immediately preceding the commencement of this case. (Married debtors
        filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

          Name and Address of                              .                              Describe Property
         Transferee, Relationship                          .                               Transferred and
                to Debtor                                 Date                             Value Received



NONE
        10b. List all property transferred by the debtor within ten (10) years immediately preceding the commencement of this case to a self-settled
 X      trust or similar device of which the debtor is a beneficiary.

                 Name of                                Date(s)                            Amount and Date
                 Trust or                                 of                                 of Sale or
               other Device                           Transfer(s)                             Closing




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In re
 Schcondala Renee Parsons, Debtor




                                          STATEMENT OF FINANCIAL AFFAIRS

NONE
        11. CLOSED FINANCIAL ACCOUNTS:
 X
        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
        otherwise transferred within one (1) year immediately preceding the commencement of this case. Include checking, savings, or other
        financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
        cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

                Name and                   Type of Account, Last Four Digits                   Amount and
                Address of                of Account Number, and Amount of                    Date of Sale or
                Institution                          Final Balance                               Closing




NONE
        12. SAFE DEPOSIT BOXES:
 X
        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
        depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

        Name and Address of Bank          Names & Addresses of Those With                     Description of                     Date of Transfer or
           or Other Depository               Access to Box or depository                        Contents                          Surrender, if Any




NONE
        13. SETOFFS:
 X
        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
        of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
        not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

           Name and Address                                Date                                  Amount
              of Creditor                                of Setoff                               of Setoff




NONE
        14. LIST ALL PROPERTY HELD FOR ANOTHER PERSON:
 X
        List all property owned by another person that the debtor holds or controls.

           Name and Address                          Description and                             Location
              of Owner                              Value of Property                           of Property




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NONE
        15. PRIOR ADDRESS OF DEBTOR(S):
 X
        If debtor has moved within three (3) years immediately preceding the commencement of this case, list all premises which the debtor
        occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address
        of either spouse.

                    .                                     Name                                 Dates of
                 Address                                  Used                                Occupancy




NONE
        16. SPOUSES and FORMER SPOUSES:
 X
        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight (8) years immediately preceding the
        commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in
        the community property state.

                  Name




NONE
        17. ENVIRONMENTAL INFORMATION:
 X
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or
        toxic substances, wastes or material into the air, land, soil surface water, ground water, or other medium, including, but not limited to,
        statutes or regulations regulating the cleanup of the these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
        operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous material" means anything defined as a hazardous waste, hazardous or toxic substances, pollutant, or contaminant, etc. under
        environmental Law.




NONE
        17a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
 X      or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
        Environmental Law:

                Site Name                          Name and Address                               Date                            Environmental
               and Address                        of Governmental Unit                          of Notice                              Law




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                                            STATEMENT OF FINANCIAL AFFAIRS

NONE
          17b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
 X        Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                  Site Name                         Name and Address                                Date                           Environmental
                 and Address                       of Governmental Unit                           of Notice                             Law



NONE
          17c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
 X        debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket
          number.

            Name and Address of                           Docket                                  Status of
             Governmental Unit                            Number                                 Disposition




NONE
          18 NATURE, LOCATION AND NAME OF BUSINESS
 X
          a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
          ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
          partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six (6) years
          immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
          within six (6) years immediately preceding the commencement of this case.

          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
          ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
          (6) years immediately preceding the commencement of this case.

          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
          ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
          (6) years immediately preceding the commencement of this case.

         Name & Last Four Digits of                          .                                     Nature                            Beginning
        Soc. Sec. No./Complete EIN or                        .                                       of                                 and
           Other TaxPayer I.D. No.                        Address                                 Business                          Ending Dates



NONE
          b. Identify any business listed in subdivision a., above, that is "single asset real estate" as defined in 11 USC 101.
 X

                      .                                      .
                    Name                                  Address




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                                          STATEMENT OF FINANCIAL AFFAIRS

NONE
         The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
 X      has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing
        executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a
        partnership, a sole proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
        within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
        should go directly to the signature page.)
        _________________________________________________________________________

        19. BOOKS, RECORDS AND FINANCIAL STATEMENTS:

        List all bookkeepers and accountants who within two (2) years immediately preceding the filing of this bankruptcy case kept or supervised
        the keeping of books of account and records of the debtor.

                  Name                               Dates Services
               and Address                             Rendered



NONE
        19b. List all firms or individuals who within two (2) years immediately preceding the filing of this bankruptcy case have audited the books of
 X      account and records, or prepared a financial statement of the debtor.

                    .                                      .                                 Dates Services
                  Name                                  Address                                Rendered



NONE
        19c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
 X      of the debtor. If any of the books of account and records are not available, explain.

                    .                                      .
                  Name                                  Address



NONE
        19d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
 X      issued by the debtor within two (2) years immediately preceding the commencement of this case.

                Name and                                  Date
                 Address                                 Issued




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                                           STATEMENT OF FINANCIAL AFFAIRS

NONE
        20. INVENTORIES
 X
        List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and
        the dollar amount and basis of each inventory.

                   Date                                  Inventory                      Dollar Amount of Inventory
                     of                                                                (specify cost, market of other
                 Inventory                              Supervisor                                 basis)



NONE
        b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 X

                   Date                    Name and Addresses of Custodian
               of Inventory                      of Inventory Records




NONE
        21. CURRENT PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
        a. If the debtor is a partnership, list nature and percentage of interest of each member of the partnership.

                  Name                                    Nature                               Percentage of
               and Address                              of Interest                               Interest



NONE
        21b. If the debtor is a corporation, list all officers & directors of the corporation; and each stockholder who directly or indirectly owns,
 X      controls, or holds 5% or more of the voting or equity securities of the corporation.

                  Name                                       .                           Nature and Percentage of
               and Address                                 Title                             Stock Ownership




NONE
        22. FORMER PARTNERS, OFFICERS, DIRECTORS AND SHAREHOLDERS:
 X
        If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

                    .                                       .                                     Date of
                  Name                                   Address                                 Withdrawal



NONE
        22b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one (1) year
 X      immediately preceding the commencement of this case.

                  Name                                       .                                     Date of
               and Address                                 Title                                 Termination



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NONE
         23. WITHDRAWALS FROM A PARTNERSHIP OR DISTRIBUTION BY A COPORATION:
 X
         If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
         form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
         commencement of this case.

          Name and Address of                            Date and                          Amount of Money or
         Recipient, Relationship to                     Purpose of                        Description and value of
                   Debtor                               Withdrawal                                Property




NONE
         24. TAX CONSOLIDATION GROUP:
 X
         If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
         for tax purposes of which the debtor has been a member at any time within six (6) years immediately preceding the commencement of the
         case.

                Name of                                   Taxpayer
            Parent Corporation                  Identification Number (EIN)




NONE
         25. PENSION FUNDS:
 X
         If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
         employer, has been responsible for contributing at any time within six (6) years immediately preceding the commencement of the case.

                 Name of                                  TaxPayer
               Pension Fund                     Identification Number (EIN)




                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
        I declare under penalty of perjury that I have read the answers contained in the foregoing statement of
                    financial affairs and any attachment thereto and that they are true and correct.


Dated:           09/09/2010                     /s/ Schcondala Renee Parsons                                            X Date & Sign
                                                  Schcondala Renee Parsons




   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                         U.S.C. Sections 152 and 3571


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 Schcondala Renee Parsons / Debtor




                                   DEBTOR'S STATEMENT OF INTENTION
  PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH
  debt which is secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                   Describe Property Securing Debt:
 Citimortgage INC                                   1212 N. LaSalle 706 Chicago, IL 60610 - (Debtors primary residence)
 Attn: Bankruptcy Dept.
 Po Box 9438
 Gaithersburg MD 20898
 Property will be (check one):
        □Surrendered                            ■Retained
 If retaining the property, I intend to (check at least one):
        □Redeem the property
        ■Reaffirm the debt
        □Other. Explain _________________________________________ (for example, avoid lien using 110 U.S.C. §
 522(f)).

 Property is (check one):
        ■Claimed as exempt                                          □Not claimed as exempt

  PART B - Personal property subject to unexpired leases. (All three columns of Part B must
  be completed for each unexpired lease. Attach additional pages if necessary.)

  Property No. 0
 Lessor's Name:                                       Describe Property Securing Debt:                Lease will be
                                                                                                      assumed pursuant to
 NONE                                                                                                 11 U.S.C. § 365(p)(2):
                                                                                                      □ Yes □ No




  I declare under penalty of perjury that the above indicates my intention as to any property of my estate
  securing a debt and/or personal property subject to an unexpired lease.
 Dated:          09/09/2010                  /s/ Schcondala Renee Parsons
                                                                                                 X Date & Sign
                                               Schcondala Renee Parsons
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 Schcondala Renee Parsons, Debtor                                                                   Bankruptcy Docket #:




         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR - 2016B
 1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
 that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
 rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
        The compensation paid or promised by the Debtor(s), to the undersigned, is as follows:
        For legal services, Debtor(s) agrees to pay and I have agreed to accept                                                    $2,200
        Prior to the filing of this Statement, Debtor(s) has paid and I have received                                              $2,200
        The Filing Fee has been paid.                                                                     Balance Due                  $0
2.      The source of the compensation paid to me was:
              Debtor(s)             Other: (specify)




3.   The source of compensation to be paid to me on the unpaid balance, if any, remaining is:

              Debtor(s)             Other: (specify)
     The undersigned has received no transfer, assignment or pledge of property from the debtor(s) except the following for the
     value stated: None.
4.   The undersigned has not shared or agreed to share with any other entity, other than with members of the undersigned's law
     firm, any compensation paid or to be paid without the client's consent, except as follows: None.

5.   The Service rendered or to be rendered include the following:
(a) Analysis of the financial situation, and rendering advice and assistance to the client in determining whether to file a petition
    under Title 11, U.S.C.
(b) Preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
(c) Representation of the client at the first scheduled meeting of creditors.
(d) Advice as required.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
     Fee does NOT include missed meeting or court dates, amendments to schedules, adversary complaints or conversions to
     another chapter.

                                                                                             CERTIFICATION
                                                        I certify that the foregoing is a complete statement of any agreement or arrangement
                                                        for payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                                                       Respectfully Submitted,

Dated:            09/21/2010                           /s/ Jonathan D Parker
                                                       Attorney Name: Jonathan D Parker                               Bar No: IL 6297378
                                                       GERACI LAW, LLC
                                                       55 E. Monroe Street #3400
                                                       Chicago IL 60603
                                                       312.332.1800 (PH) 877.247.1960 (FAX)

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                                   VERIFICATION OF CREDITOR MATRIX
 The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




           I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.



 Dated:         09/09/2010               /s/ Schcondala Renee Parsons                                  X Date & Sign
                                            Schcondala Renee Parsons




 * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                    Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.

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                             NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                      OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

    With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

    In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

    Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299
    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator),
the trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of
the Code. It is up to the court to decide whether the case should be dismissed.
    Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
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found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
          Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may
still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and
property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are
not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle,
vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
discharged.

     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $39 administrative fee: Total fee $274)
     Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
     Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect.
     After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations.

    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
    Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
    Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors, assets,
liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not filed with the court
within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for
filing them are listed on Form B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

I (We), the debtor(s), affirm that I (we) have received and read this notice.

Dated:       09/09/2010
                                   /s/ Schcondala Renee Parsons                                                                  Sign & Date
                                            Schcondala Renee Parsons                                                                Here

                                                                                                                                 Sign & Date
                                                                                                                                    Here
Dated:       09/21/2010
                                   /s/ Jonathan D Parker
                                   Attorney: Jonathan D Parker                                    Bar No: IL 6297378



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